IN THE
UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
ABINGDON DIVISION

MICHAEL B. THOMAS,

)
)
Plaintiff, )
) COMPLAINT
V. )
) Civil Action No.
)
STRONGWELL CORPORATION )
)
Defendant. )
)
INTRODUCTION
FE This is a race discrimination action for wrongful termination; work

place harassment and abuse, discriminatory wages, benefits and terms and
conditions of employment, and retaliation because of plaintiff's race, ancestry,
ethnicity and national origin. This action seeks compensatory damages, punitive
damages, back pay, reinstatement or front pay (in lieu of reinstatement),
attorney's fees and costs, for deprivation of rights secured by 42 U.S.C. § 1981,
(§1981) and Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
§2000-e, et seq. (Fitle Vil).
JURISDICTION AND VENUE
2. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1343,

42 U.S.C. §2000-e, et seq. and 42 U.S.C. §1981.

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3. Regarding the Title Vil claim, Mr. Thomas has timely filed a claim
with the United States Equal Employment Opportunity Commission (EEOC), has
received a notice of right to sue and has filed this complaint within ninety (90)

days of receipt thereof.

PARTIES
4. Plaintiff Michael Thomas is an African American male, age 54 and
a resident of Bristol, Virginia.
5: Defendant Strongwell Corporation is a Virginia corporation

(Strongwell), having its principle business location in Bristol, Virginia. Strongwell
is an international commercial designer and fabricator of fiber-polymer, glass,
carbon and fiberglass materials and objects used in major industries including
building, defense, water/waste water, automotive, bridges and off shore oil
drilling platforms, among others. The Corporation has four manufacturing
locations: Bristol, Virginia, Washington County, Virginia (The Highlands),
Chatfield, Minnesota and Apodaca, Nuevo Leon in Mexico. Strongwell’s
corporate offices, including finance, marketing and human resources are located
in the Bristol, Virginia facility along with a state-of-the-art testing laboratory.
Strongwell conducts a substantial portion of its affairs in the Western District of
Virginia where its Bristol and Highlands facilities are located.
FACTS
6. Plaintiff Michael Thomas was employed by Strongwell at its

Bristol, Virginia location from June 22, 1992 to May 4, 2018. Over more than 25

years employment with Strongwell, Mr. Thomas was a good and loyal employee

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with a spotless record: no work rule infractions, warnings, reprimands or other
blemish on his record of any kind. On May 4, 2018, Mr. Thomas was the 4"

most senior employee in Strongwell’s Fabrication Department.

i: On May 4, 2018, Strongwell Corporation had and now has more than 501
employees.
8. At times material hereto, Lydia Sinemus (“Sinemus”) was employed as the

Director of Human Resources for Strongwell. At times material hereto, Sinemus
acted within the actual or apparent scope of her employment.

9. At times material hereto, Billy Phillips (“Phillips”) was employed as a
supervisor over Mr. Thomas’ department. At times material hereto, Phillips acted
within the actual or apparent scope of his employment.

10. At times material hereto, Frances Hart (“Hart”) was employed as a team
leader in Mr. Thomas’ department. At times material hereto, Hart acted within
the actual or apparent scope of her employment.

11. During the course of plaintiff's employment, the Fabrication Department
employed approximately fifty (50) people. During Thomas’ first few years, there
were two other African Americans in the department full time. They were
terminated or quit within a couple of years. During more than 20 years, Mr.
Thomas was the only African-American working in the Department full time.

12. On May 4, 2018, Mr. Thomas was a Fabricator A, having worked his way

up from Fabricator C, in the Fabrication Department. In that capacity, he used
and read product blueprints and assembled, composed and completed final

products from parts and materials created according to the prints, as did ail the

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other employees in the department. Mr. Thomas achieved Fabricator A level
after approximately 20 years, when white employees were promoted to this level
within far fewer years, some after 2 and 3 years. On May 3, 2018, Mr. Thomas
earned $16.3267 per hour for his work when others doing the same fabrication
work were earning more than $20.00 per hour for the work. Approximately a
decade earlier Mr. Thomas earned $12.00 per hour compared to $20.00 per
hour earned by coworker- R. Jones, who showed his paycheck. Upon
information and belief, Mr. Thomas was regularly the lowest paid Fabricator at
his level in the Department while all were performing the same fabrication work.
13. Work assignments from supervisors including Mr. Phillips, were
generally equal, but with two major exceptions. Mr. Thomas was routinely
assigned the dirtiest, grungy, messy, most unpleasant work, such as combining
resins with fiber, polymers, sand and other ingredients by hand, then sanding
and polishing to create composition parts, painting and manual work requiring
heavy lifting. Supervisors Reynolds and Phillips assigned Mr. Thomas the dirtier
and more manual jobs that other persons (all white) did not want to do. Mr.
Thomas was also assigned work that provided fewer opportunities to progress
and acquire new and different skills; those opportunities were given to white
employees with less experience and less seniority than Mr. Thomas. Many white
employees, less experienced and less senior than Mr. Thomas were promoted to
another level and called “specialist”. Mr. Thomas requested this work from his

supervisors but was not given the work assignments to perform the skills on

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which promotions were alleged to be based. He also questioned the regular
assignments of the most unpleasant work but was told, “That’s just how it is.”

14. Mr. Thomas was routinely ignored and avoided by Supervisors
including Phillips, who made small talk, conversed with and joked with the white
employees but not Mr. Thomas. When asked why he was not treated as the
others, the reply was usually, “| have nothing to say to you” or “we have nothing
in common.” The only time he was spoken t, was when receiving work
assignments. Mr. Thomas was regularly singled out by Phillips and Team leader
Hart as the recipient for comments applicable to all, such as, “not fast enough”,
when all were performing the same. When he asked, “why am | being singled
out”, there was no explanation.

15. Over the entire period of his employment at Strongwell, Mr.
Thomas has been subjected to continuous and pervasive racial harassment. This
harassment, along with threatening language and behavior, were regular
beginning in 2008 and continuing to his termination on May 4, 2018. After July
2016, the harassment became particularly severe including almost daily ridicule
and mockery from coworkers who would say to him, “black people wanted to be
slaves”, “they were fed and taken care of’, “you're the racist’, “you’re
brainwashed,” “black people had it good as slaves.” And “we don’t like your black
President, because his name is Obama and he’s black”; “the (Obama) girls are
adopted because Michele is a man who had a sex change;” “she looks like an

ugly monkey, ugly nappy hair.” Continuing some would say, “go back to Africa”,

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“You don’t believe in God.” From coworker |. Testerman: “I’m sick of your black
ass.”

16. Mr. Thomas’ department Team Leader, Francis Hart regularly did
mocking, taunting, insults and putdowns regarding “your black president’, other
“Obama bashing”, in an effort to goad Mr. Thomas to respond inappropriately: “I

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hate Obama, he is a liar.” “He is the worst president in history.” Ms. Hart would
also ridicule “black men” in Mr. Thomas’ presence and in speaking to him
directly, for not “claiming the children they fathered” and “not taking care of their
families.”

17. Mr. Thomas was called the N_ word on many occasions::by
coworkers D. Hauser, T. Sleuter, and T. Hilliard, among others. Some would
stop and mockingly say, “oops, sorry ‘bout that...”

18. Guns were discussed almost daily: types owned, shooting ranges,
cans, targets, distances, shooting skill, things killed, hunting, buying guns, going
to gun shows, etc. Mr. Thomas was ridiculed and mocked for not keeping his
guns loaded and with him: “what good are they if they’re not loaded and ready to
use?” “If you don’t like our guns in stores and restaurants, go back to Africa..”
Profanity was prevalent. This taunting and attempts to argue with Mr. Thomas
was constant. Mr. Thomas believed that he was constantly goaded by coworkers
because they were trying to make him upset, mad in an effort to get him to quit or
get him fired. He was made to feel he was never as equal as the new white

employee coming in the door. Supervisors and team leaders heard this behavior

but generally ignored it. Team leader Hart participated.

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19. Mr. Thomas suffered discrimination in his work assignments,
training and working conditions. Mr. Thomas did the work because he had no
choice. Mr. Thomas signed for job openings posted in 2017 and 2018, for internal
moves-lab openings for example- but was never interviewed for any. This was
contrary to company custom and policy because all internal applicants other than
Mr. Thomas, received interviews. Mr. Thomas’ supervisors placed him in
positions most removed from exposure to new and different skills to limit his
ability to learn new skills for promotion. Mr. Thomas had to learn these skills on
his own time.

20. Workers in the fabrication department sometimes worked in pairs
depending on the product. White employees were permitted to choose, but Mr.
Thomas was always assigned a coworker by his supervisor depriving Mr.
Thomas the opportunity to work with those more skilled and those with whom he
got along. White workers were also permitted to choose their work.

21. The verbal abuse and harassment, feeling kept down and ignored
were all offensive, hurtful, demoralizing, and embarrassing to Mr. Thomas. He
had no choice but to continue to work in order to care for his family and keep
their health insurance. Mr. Thomas had studied graphic design at the Maryland

Institute of Art for a year after high school. He liked the fabrication work.

22. At least since its employment handbook revised April 16, 2014,
Strongwell has had a policy prohibiting racial harassment and “racial slurs” in the
workplace. It states: “We expect all employees to treat one another with courtesy,

respect, and consideration”. This policy recognized that

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“The use of profane, foul, obscene, insulting, abusive or crude
language, inappropriate jokes, racial slurs, sexual comments even if
spoken in non-standard English/foreign languages, or the making of
verbal threats is considered disrespectful, demeaning and abusive
behavior. This abuse usually causes great anxiety and stress for the
recipient and may give the recipient reason to be concerned for his/her
safety and well-being. Vulgar and offensive language can cause real
harm, crosses the boundary of appropriate conduct and even disrupt
the entire workforce.” (Emphasis added.)

This policy was routinely ignored in Mr. Thomas’ Department. No one was ever

reprimanded, warned or even cautioned for the abusive treatment of Mr.

Thomas.

23. Over the six weeks preceding May 1, 2018, Mr. Thomas had worked
more than 73 hours overtime along with other employees in the department in an
effort to meet production obligations set by supervisor Billy Phillips. On the
morning of Tuesday, May 1, 201, Mr. Phillips called a meeting of the employees
on the floor and loudly and angrily chastised them all telling them they were not
working fast enough and producing enough and that he intended to time their
work, including breaks and trips to the restroom, to get what the company
needed from them and they had to step up.

24. Following this May 1, 2018 meeting, approximately a dozen or so
employees in Mr. Thomas’ department went to the break room, he with them.
There was a general outpouring of frustration and disappointment that they had
been working hard and feeling unappreciated. There were multiple conversations

occurring all at once with participants talking to and over each other, all at once,

expressing that same sentiment. During this time Mr. Thomas commented to no

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one in particular, “| can see why some people go postal”. His comment was part
of the general ongoing conversations, no one seemed to notice, no one
responded, as none was expected, all conversations continued and following the
break, all went back to work as required. Mr. Thomas completed his shift. He
returned on the next day, May 2, 2018 and completed his usual shift. He reported
to work on May 3, 2018, as usual and worked through until approximately 2:30,
30 minutes prior to his shift end when supervisor Billy Phillips came and asked
him to go with him to the human resources office. Mr. Thomas had no idea the
purpose but assumed it was some routine paper he had failed to sign. On the
way, Mr. Phillips said he heard Mr. Thomas had a new riding lawn mower and
asked how he liked it. This seemed a bit out of the ordinary because Mr. Phipps
never conversed with Mr. Thomas, he ignored and avoided Mr. Thomas unless
he was giving a specific work instruction.

25. When Mr. Thomas and Mr. Phillips arrived in the human resources
office the HR director, Lydia Cinemus, was waiting for them and had in front of
her a completed Corrective Action Form with Mr. Thomas’ name on it. She
presented it to him.

26. Under “reason for action” the form stated: “On May 1, 2018 you
made comments to fellow employees suggesting bodily harm to other
employees. This conduct will not be tolerated by Strongwell”. It further said “This
document serves as formal notification and documentation that any further issues
with Strongwell’s rules or guidelines will result in further disciplinary action up to

and including discharge’. It was signed by Billy Phillips and dated May 3, 2018.

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An X was placed beside “Final Warning.” See Exhibit A. There was no indication
from Phillips, Sinemus or on the form that Mr. Thomas was discharged. Ms.
Sinemus proceeded to tell Mr. Thomas that some employees had reported to Mr.
Phillips that Mr. Thomas had threatened them by saying that he “was going to
bring a gun to work and start shooting and everyone should run when they saw
him coming because he was going postal’. Mr. Thomas denied making such
statements. He denied that he threatened anyone. He denied that he would ever
do such a thing and denied making the statements attributed to him. He also
denied suggesting bodily harm to anyone. Ms. Sinemus also informed Mr.
Thomas that he was suspended for | day-Friday without pay. He requested
clarification that he was suspended for Friday, May 4 without pay and was to
return to work on Monday, May 7. He was assured that was correct. He was not
given a written notice of the one day suspension and /oss of pay and it was not
mentioned on the Corrective Action Form he was given. . Mr. Thomas signed the
receipt for the form feeling he would be discharged if he did not.

ZT: At the meeting with Mr. Phillips and Ms. Sinemus, Mr. Thomas
asked who thought he had threatened them. He was not told the identity of
anyone reporting to have been threatened by him. Mr. Thomas was given no
opportunity to hear the claims against him and respond nor appeal the discipline
he was being given. Being most concerned about his job he understood he was
to return to work on Monday.

28. During the course of the discussion with Ms. Sinemus, Mr. Thomas

was told employees were free to bring such complaints to Mr. Phillips or to her in

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the HR Department at any time. During this discussion Mr. Thomas told Ms.
Sinemus that he was mistreated and felt threatened on a virtually daily basis by
racial slurs and other intimidation. She responded that he should bring those
concerns to HR. He said that he would return to her office to do that.

29. On Friday, May 4 in the afternoon Mr. Thomas received a
telephone call from an unknown number, not a Strongwell number, he answered
and it was Ms. Sinemus on the phone. She told Mr. Thomas that he was
discharged and not to return to work the following Monday. No reason was
given for his termination.

30. All the conduct of defendant and its agents described herein was
intentionally discriminatory because plaintiff is African American and black. Mr.
Thomas was the object of harassment, discrimination and abuse and disparate
treatment because he is black; not because nondiscriminatory motives and
intentions resulted in the outcomes adverse to Mr. Thomas. Strongwell
discriminated against plaintiff intentionally or with reckless disregard of the law,
because of race, ethnicity and national origin. Strongwell and its agents
discriminated against plaintiff knowingly and intentionally and acted willfully or
with reckless disregard of the law in depriving plaintiff of employment
opportunities and permitting ongoing workplace harassment because of his race,
ancestry, ethnicity and national origin in violation of law.

31. As aresult of Strongwell’s intentional and reckless violations of 42
U.S.C. §1981 and Title VII, plaintiff has suffered loss of income, loss of earning

capacity, loss of benefits, loss of career opportunity, loss of career investment,

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and loss of advancement and has suffered humiliation, loss of standing in the
community, emotional pain and suffering, embarrassment, inconvenience, loss of
enjoyment of life, irritation and mental anguish. Plaintiff also suffered retaliation
because of his race by reporting to HR Director Lydia Sinemus that he was
subjected to racial abuse and threatening behavior on a daily basis and assuring
her he would return to report that. On the following day, May 4, 2018, he was
terminated on the phone by Ms. Sinemus, without being given a reason.
§1981 DISCRIMINATION

32. Plaintiff incorporates by reference herein all the other paragraphs in
this complaint.

33. The actions of STRONGWELL and its agents described herein
constitute discrimination based upon race, ancestry, ethnicity, and national origin
in violation of 42 U.S.C. §1981.

34. Asadirect result, plaintiff has suffered and will continue to suffer he
losses and injuries described throughout the complaint and in particular those
identified in paragraph 28.

35. Defendant acted willfully or with reckless disregard of the law in
depriving plaintiff of employment opportunities and permitting ongoing workplace
harassment because of his race, ancestry, ethnicity and national origin. Because
of statutorily impermissible and willful, if not malicious, acts of Strongwell and its
agents Mr. Thomas, has suffered loss of income, loss of earning capacity, loss
of benefits, loss of career opportunity, loss of career investment, and loss of

advancement pursuant to Title VII of the Civil Rights Act or 1964 and 1991, as

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amended and codified at 42 U.S.C. §2000e et seq. (“Title VII). He has also
suffered humiliation, loss of standing in the community, emotional pain and
suffering, inconvenience, loss of enjoyment of life, irritation and mental anguish.
He seeks reinstatement, recovery, compensatory, and equitable (i.e., back pay
and front pay) damages, as well as attorney’s fees, and costs and pre and post
judgment interest in the maximum amounts allowed by law pursuant fo Title VII of
the Civil Rights Act or 1964 and 1991, as amended and codified at 42 U.S.C.

§2000e et seq. (“Title VII”).

WHEREFORE, plaintiff respectfully asks this Court for the following relief:

1. Issue declaratory judgment that Defendant’s acts violate 42 U.S.C.
§1981;

2. Issue a permanent injunction restraining Defendant from violating
the provisions of 42 U.S.C. §1981;

a Order Defendant to pay to plaintiff compensatory damages in the
amount of THREE MILLION DOLLARS ($3,000,000.00); and punitive damages
in the amount of FIVE MILLION DOLLARS ($5,000,000.00) with interest in the
maximum amounts allowed by law.

4. Grant plaintiff's costs, expenses and attorney’s fees.

Plaintiff requests trial by jury.

Title Vil Discrimination

36. Plaintiff incorporates by reference herein all the other paragraphs

in this complaint.

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37. The actions of STRONGWELL and its agents described herein
constitute discrimination because of race, ancestry, ethnicity, and national origin
in violation of Title VII of the Civil Rights Act or 1964 and 1991, as amended and
codified at 42 U.S.C. §2000e et seq. (“Title VII”).

38. Asadirect result, plaintiff has suffered and will continue to suffer
the losses and injuries described throughout the complaint and in particular those
identified in paragraph 28.

39. Defendant acted in violation of the law in depriving plaintiff of
employment opportunities and permitting ongoing workplace harassment
because of his race, ancestry, ethnicity and national origin. Because of statutorily
impermissible acts of Strongwell and its agents, Mr. Thomas, has suffered loss of
income, loss of benefits, loss of career opportunity, loss of career investment,
and loss of advancement pursuant to Title VII of the Civil Rights Act or 1964 and
1991, as amended and codified at 42 U.S.C. §2000e et seq. (“Title VII). He has
suffered humiliation, loss of standing in the community, emotional pain and
suffering, inconvenience, loss of enjoyment of life, irritation and mental anguish.
He seeks reinstatement, compensatory and equitable (i.e., back pay and front
pay) damages, as well as attorney’s fees, and costs and pre and post judgment
interest in the maximum amounts allowed by law pursuant to Title VII of the Civil
Rights Act or 1964 and 1991, as amended and codified at 42 U.S.C. §2000e et

seq. (‘Title VII’).

WHEREFORE, plaintiff respectfully asks this Court for the following relief:

1; Issue declaratory judgment that Defendant’s acts violate Title VII;

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2. Issue a permanent injunction restraining Defendant from violating
the provisions of Title VII:

I Award plaintiff damages for loss of income and employment
benefits, including back pay, reinstatement, front pay (in lieu of reinstatement)
and compensatory damages for emotional and physical pain, suffering,
inconvenience, mental anguish and loss of enjoyment of life, as well as an award
of punitive damages, in the maximum amount allowed by law; and

4. Grant plaintiff's costs, expenses and attorney’s fees.

Plaintiff requests trial by jury.

Respectfully submitted,
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